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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MISSOURI
                                EASTERN DIVISION

 CHERYL COMPTON, et al.,       )
                               )
            Plaintiffs,        )
                               )                            No. 4:11-CV-01975 CEJ
 v.                            )
                               )
 ST. LOUIS METROPOLITAN POLICE )
 DEPARTMENT, et al.,           )
                               )
            Defendants.        )

           DEFENDANT CITY OF ST. LOUIS’ VERIFIED STATEMENT OF
                     REASONABLE ATTORNEYS’ FEES

           COMES NOW Defendant City of St. Louis, Missouri (“City”), by and through

 undersigned counsel, and pursuant to the Court’s Order dated December 31, 2012 [Doc.

 #70], files the following Verified Statement of Reasonable Attorneys’ Fees in the above

 matter:

           1.    At all times relevant to this filing, Associate City Counselor Daniel J.

 Emerson was employed as an Attorney III for the City, and his hourly billing rate in that

 capacity for Civil Rights cases is $275.00 per hour. See Exhibit A (Affidavit of Daniel J.

 Emerson) at ¶ 5.

           2.    Mr. Emerson expended 16.7 hours at an hourly rate of $275.00, for a total

 of $4,592.50 in reasonable attorneys’ fees expended as a direct result of plaintiffs’ failure

 to respond to discovery. Id. at ¶¶ 6 & 7.

           3.    The City did not incur any taxable court costs as a direct result of

 plaintiff’s failure to respond to discovery. Id. at ¶ 8.
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        WHEREFORE, the City prays an Order from the Court granting award of

 $4,592.50 in reasonable attorneys’ fees against the plaintiffs in this matter and for such

 other and further relief as the Court deems fair and reasonable under the premises.



                                              Respectfully submitted,
                                              PATRICIA A. HAGEMAN
                                              CITY COUNSELOR


                                                     /s/ Daniel J. Emerson
                                              Michael A. Garvin #39817 MO
                                              Deputy City Counselor
                                              Daniel J. Emerson     #56808 MO
                                              Associate City Counselor
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                                  Certificate of Service

        I hereby certify that on January 31, 2013, the foregoing was electronically filed
 with the Clerk of the Court to be served by operation of the Court’s electronic filing
 system upon:


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                                                    /s/ Daniel J. Emerson




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